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2                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK
3
              NIKE, INC.,                    :
4                       Plaintiff,           :    Case No. 1:22-cv-983
                                             :
5                       v.                   :
              STOCKX LLC,                    :
6                       Defendant.           :
              ------------------             :
7
8                              VIDEOTAPE DEPOSITION OF:
9                                       YASIR MALIK
10                                NEW YORK, NEW YORK
11                           THURSDAY, JANUARY 12, 2023
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14
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23
24          REPORTED BY:
            SILVIA P. WAGE, CCR, CRR, RPR
25          JOB NO. 5641354

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2
3
                                                       January 12, 2023
4                                                      10:35 a.m.
5                        Videotape deposition of YASIR MALIK,
6           held at the offices of DLA PIPER LLP (US), 1251
7           Avenue of the Americas, 27th Floor, Conference
8           Room 27A, New York, New York, pursuant to
9           agreement before SILVIA P. WAGE, a Certified
10          Shorthand Reporter, Certified Realtime Reporter,
11          Registered Professional Reporter, and Notary
12          Public for the States of New Jersey, New York and
13          Pennsylvania.
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2           your way."
3                         What does that sentence mean?
4                    A.   Essentially, all orders that go
5           through -- for any user who makes a purchase
6           through the StockX platform, all their orders go
7           through our authentication process.
8                    Q.   Okay.     And the authentication process
9           is to confirm that a product is 100 percent
10          authentic; is that right?
11                   A.   I would say that it goes through our
12          authentication process and, like, we do our best
13          to make sure that it's authentic.
14                   Q.   Okay.     Well, it says, "Once we make
15          sure it's 100 percent authentic, we will send it
16          your way."
17                        Do you see that?
18                   A.   I see that.
19                   Q.   Okay.     Is that an incorrect
20          statement?
21                   A.   My view is that we -- our goal is --
22          that every product goes through the
23          authentication process and, like, to the best of
24          our ability, like, everything generally that goes
25          through the process is authentic.                  But

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2           occasionally understand that there's slipups to
3           that process.       And so, obviously, our goal that
4           if that was to ever happen was to generally just
5           make it right.
6                    Q.   I've heard that statement before.
7                         Alright.       Let's do the next one.
8                         (Deposition Exhibit 10, 12/27/21
9           e-mail to Vault Inventory Trader from StockX
10          STX0121511 to STX0121513 marked Confidential, was
11          marked for identification.)
12                   Q.   Mr. Malik, prior to preparing for
13          this deposition, did you ever say that your
14          100 percent authentic claim means that you
15          occasionally understand that there's slipups to
16          that process, so, obviously, our goal is to
17          generally make it right?
18                   A.   Have -- is your -- is your question
19          have I said that before?
20                   Q.   Yeah, vis-à-vis the 100 percent
21          authentic claims that we just looked at.
22                   A.   I don't know if I've used this, like,
23          that same language.          But I think since I first
24          started working at StockX, I've always truly
25          believed that.

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